Case 2:04-cV-02587-.]DB-tmp Document 13 Filed 08/25/05 Page 1 of 2 Page|D 21

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FoR THE WESTERN DIsTRICT or TENNESSEE "'
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KENNETH }OHNSON, THG'$;;L;%D ;-\;.‘i_ UJU‘LD
Ct£Hlt U.i`>. U;STHIET COUHT
Plaimiff, w/D OF itt tlEMPHlS
v. NO. 04-2587 B

MCKESSON CORPORATION and
JEFF ADAMS, jointly and severally,

Defendants.

 

 

ORDER TO SHOW CAUSE WHY DEFENDANT’S MOTION
FOR SUMMARY JUDGMENT SHOULD NOT BE GRANTED

 

Before the Court is the July 6, 2005 motion for summary judgment by the Defendant,
McKesson Corporation, against the Plaintift`. According to the Court‘s docket, no response has
been filed on behalf of the Plaintiff, even though the deadline for such a response has expiredl
Accordingly, the Plaintiffs is hereby directed, within eleven (l l) days of the entry hereof, to
show cause why the motion referenced herein should not be granted Failure of the Plaintiff to
comply in a timely manner with this order may result in dismissal with prejudice of Plaintiff` s
claims against Defendant.

IT ls so ORDERED this 153 day OfAugust 20 5.

 

. NIEL BREEN \
UNI Er) sTA'rEs DrsrRrCr JUDGE

 

1Under the Local Rules of this district, responses to motions for summary judgment "rnust
be filed within thirty days of service of the motion." LR7.2, Local Rules of the U.S. Dist. Ct. for

the W. Dist. of'l`enn_ ' la se
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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:04-CV-02587 was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

